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           July 27, 2021                                                    VHA DIRECTIVE 1193(1)
                                                                                      Appendix B

           x I notified my immediate supervisor in writing that I have a deeply held religious
           belief that prevents me from receiving the COVID-19 vaccine. I understand that by
           declining to receive the vaccine within eight weeks of publication of this directive, or
           within eight weeks of beginning employment, I must wear a face mask according to
           requirements and guidelines within VHA Directive 1193, Coronavirus Disease 2019
           Vaccination Program for Title 38 Health Care Personnel.



           Supervisor Signature
                                                  O

                                                                    111M11011
                                                                    Supervisor Email


           I have read and fully understand the information on this form and have been given the
           opportunity to have my questions answered. I understand that violation of the directive
           may result in disciplinary action up to and including removal from Federal service.

          Name (print):                                              Last 4 SS#

          DeptiServ:      C      ( if [A

          Employee Signature:                                             Date:         6,6 t

             VHA Title 38 HCP are to provide this form to the VHA facility Employee
          °CCU tionaftlealth Office„ Secure electronic submission is permissible.


             7) O n c e a VHA employee checks the box and completes the exemption form, he or

      she is automatically exempted from the mandatory vaccination policy, and permitted to continue

      in the same job function, with the same duties and responsibilities. The only requirement (or

      accommodation) for exempt employees is that they must wear a face mask according to

      requirements and guidelines within VITA Directive 1193, as stated on the exemption form above.

             8) O n August 13, 2021, 1 submitted the above exemption form.

             9) O n August 16, 2021, my exemption was formally acknowledged.

             10) W i t h my religious exemption in place, and with the face mask accommodation, I

     am permitted to carry out my duties and responsibilities to the same extent as always. I interact
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      and counsel patients, both inpatients and outpatients, both with COVID and without COVID, in

      the entire hospital in Augusta, as well as other facilities. I interact and counsel with other healthcare

      workers routinely as well.

              11) A s part of my counseling of other healthcare employees within the VA Maine

      Healthcare System, I became personally aware of more than 100 other employees with sincerely

      held religious convictions that prohibit them from accepting vaccinations. These employees

      requested and obtained religious exemptions from the mandatory COVID-19 vaccination

      requirement using the same form and procedure that I did. These employees are permitted to

      continue their duties and responsibilities, including direct patient care, to the same extent that they

      did previously, subject to the masking accommodation described above.

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

             Dated: September 16, 2021
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    of their religious beliefs, and supervisors are not required to "approve" those beliefs. Here is a true

    and accurate copy of the VHA exemption form:

     n D e p a r t m e n t of Veterans Affairs                                             COVID-19 VACCINATION
       DATE WA I D D 1 T M :     )8/04/2021

       I am a VHA I X I Employee          I       Other - please indicate:


       CHECK ONE STATEMENT BELOW AND COMPLETE AND SIGN THE LAST SECTION OF THIS FORM PRIOR TO
       SUBMISSION TO EMPLOYEE OCCUPATIONAL HEALTH.

       II   i received the full COVID-19 vaccine series (any required documentation is attached).

            I have been granted a medical exemption from receiving the COVID-19 vaccine
            I have a contraindication for the COVID-19 vaccine as defined by Centers for Disease Control and Prevention (CDC). The
            reasons for contraindication must be recognized contraindications and precautions by the CDC. found here.
            https://vmv.cdc,govivaccines/covid-19(Clinical-considetationsfcovid-19-vaccines-us.html?CDC A A retVal-=littps%3A%2F'Yi
            2Fwww.cdc.00v%2Fvaccines%2Fcovid-19%2Finfo-bv-product%2Fclinical-considerations.htrnl, located under Interim Clinical
            Considerations for Use or Vaccine Indications This has been discussed and acknowledged by my personal physician I
            understand that by declining to receive the vaccine within eight weeks of publication of this directive. or within eight weeks of
            beginning employment, I must wear a face mask according to requirements and guidelines within VHA Directive 1193.
            COVID-19 Vaccination Program for VHA Employees and Health Care Personnel


            Printed Physician Name and Address
            Mir




            Physician Signature                                           Date clf.11 DD M T , N a t i o n a l Provider Identification Number
            Istai




            Supervisor Signature                                          Date L i f t t L i D I T Y t i S u p e r v i s o r Email

             notified my immediate supervisor in writing that I have a deeply held religious belief that prevents me from receiving the
            COVID-19 vaccine
            I understand that by declining to receive the vaccine ..rithin eight weeks of publication of this directive, or within eight weeks
            of beginning employment. I must hear a face mask according to requirements and guidelines within VHA Directive 1193.
            COVID-19 Vaccmatror Program for I/HA Employees and Health Care Personnel




            Supervisor Signature              D       a       t       e          /3/M n n YITTi S u p e r v i s o r Email


       I have read and fully understand the information on this form and have been given the opportunity to have my questions
       answered. I understand that violation of the directive may result in disciplinary action up to and including removal from Federal
       service

       Name iprintj                   L                           a                    s                       t                     4 SS#

       Dept /Seri                                                                                            Date a f / DD/ITY1). 0 8 / 0 4 / 2 0 2 1


       Employee Signature


       VHA Title 3BHCP are to provide this form to the VHA facility Employee Occupational Health Office. Secure electronic
       submission is permissible.
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           7) O n c e a VHA employee checks the box and completes the exemption form, he or

    she is automatically exempted from the mandatory vaccination policy, and permitted to continue

    in the same job function, with the same duties and responsibilities. The only requirement (or

    accommodation) for exempt employees is that they must wear a face mask according to

    requirements and guidelines within VHA Directive 1193. as stated on the exemption form above.

            8) O n August 13. 2021. I submitted the above exemption form.

                   On the same date, my exemption was formally acknowledged.

            10) M y exemption and accommodation permit me to continue all of my previous duties

    and responsibilities, including working on-site, interacting with colleagues, and providing quality

    and safe care to my patients. As part of my accommodation, I am required to use a mask, as stated

    in the exemption form. My individual facility is also requiring twice weekly testing for COVID-

    19 for those exempted healthcare workers such as myself who have to work in ihe long term care

    unit. I comply with all of these requirements.
                                                                 •
            I 1) U n t i l recently. I was also working as a per diem nurse at Eastport Memorial Nursing

    Home, in Eastport, Maine. I requested a religious exemption there as well. I was told that even

    though my employer winded to provide me with an exemption, it could not do so because the State

    of Maine had abolished religious exemptions for healthcare workers. My employment there was

    terminated as a result.

           Pursuant to 28     §     1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021
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                                                           EMPLOYEE WITNESS # 3
                                DECLARATION OF

           I,                      , declare as follows:

           1)      I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)      I am employed as a chemotherapy nurse at the Veterans Affairs (“VA”) Medical

    Center in Portland, Oregon. My hospital is part of the Veterans Health Administration (“VHA”).

           3)      The VHA is the largest integrated health care system in the United States,

    employing more than 367,200 full time health care professionals and support staff, who deliver

    healthcare services to over 9 million veterans at 1,293 healthcare facilities throughout the United

    States. (See https://www.va.gov/health/aboutvha.asp).

           4)      In Oregon, the VA Portland Healthcare System serves over 95,000 veterans at more

    than a dozen facilities throughout the state. (See https://www.portland.va.gov/about/index.asp).

           5)      The VHA permits and freely grants exemptions and accommodations to healthcare

    employees with sincerely held religious objections to mandatory vaccinations, including COVID-

    19 vaccination.

           6)      The VHA form for requesting and obtaining a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy is very simple, and requires

    employees only to check a box indicating that they have a deeply held religious belief that prevents

    them from receiving the COVID-19 vaccine, and that they have notified their immediate

    supervisor in writing of that belief. Employees are not required or expected to explain the nature

    of their religious beliefs, and supervisors are not required to “approve” those beliefs. Here is a true

    and accurate copy of the VHA exemption form:
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       July 27, 2021               V              H              A               DIRECTIVE 1193

                                                                                      Appendix B



       E l I notified my immediate supervisor in writing that I have a deeply held religious
       belief that prevents me from receiving the COVID-19 vaccine. I understand that by
       declining to receive the vaccine within eight weeks of publication of this directive, or
       within eight weeks of beginning employment, I must wear a face mask according to
       requirements and guidelines within VHA Directive 1193, Coronavirus Disease 2019
       Vaccination Program for Title 38 Health Care Personnel.


                                           07/28/2021
       Supervisor Signature               Date S u p e r v i s o r Email


       I have read and fully understand the information on this form and have been given the
       opportunity to have my questions answered. I understand that violation of the directive
       may result in disciplinary action up to and including removal from Federal service.

       Name (print):                                             Last 4 SS#

       Dept./Serv: Chemo Clinic
       Employee Signature:                                           Date:   07/28/2021

         VHA Title 38 HCP are to provide this form to the VHA facility Employee
       Occupational Health Office. Secure electronic submission is permissible.


            7) O n c e a VHA employee checks the box and completes the exemption form, he or

     she is automatically exempted from the mandatory vaccination policy, and permitted to continue

     in the same job function, with the same duties and responsibilities. The only VHA requirement (or

     accommodation) f o r exempt employees is that they must wear a face mask according to

    requirements and guidelines within VHA Directive 1193, as stated on the exemption form above.

            8) O n July 28, 2021, I submitted the above exemption form.

            9) O n the same day, my exemption was formally acknowledged.
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            10) M y exemption and accommodation permit me to continue all of my previous duties

    and responsibilities, including working on-site, interacting with colleagues, and providing quality

    and safe care to my patients. As part of my accommodation, I am required to use a mask, as stated

    in the exemption form. My individual facility is also requiring weekly testing for COVID-19. I

    comply with all of these requirements.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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                                                            EMPLOYEE WITNESS # 4
                                 DECLARATION OF

             I,                     , declare as follows:

            1)       I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

            2)       I am employed as a Direct Support Professional at Shangri-La, in Salem, Oregon.

     Shangri-La is a non-profit human services organization dedicated to providing services, including

     healthcare services, to individuals with disabilities. My job responsibilities include providing

     direct support to individuals with intellectual disabilities.

            3)       The State of Oregon does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

            4)       On September 9, 2021, my employer granted me a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

     notice that I received:
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            5)      My accommodation permits me to continue all of my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to individuals with intellectual disabilities. I am required to undergo weekly testing as

     part of my accommodation. I comply with this requirement.

            6)      I am personally aware that 2 other employees who work with me and who interact

     with both on-site clients and on-site colleagues were also granted religious exemptions and

     accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021




                                                                                                     __
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                                                              EMPLOYEE WITNESS # 5
                                   DECLARATION OF

                                        declare as follows:

             1)   I   am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

             2)   I   am employed as a registered nurse at Saint Agnes Hospital in Fresno, California.

     St. Agnes is owned by Trinity Health, which employs about 123,000 healthcare workers at

     facilities in 22 states.

             3) T h e State o f California does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

             4) I n August 2021, Trinity Health granted m e a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

     notice that I received:



                                                r i Trinity Health


                                              CASE N.
                                           CREATION DATE: 07 ■ 202


                                 2021 Covid-19 Vaccination Document

                                               Colleague ID:
                                    Organization: F0I Saint Agnes Medical Center
                                        Legal Full Name:
                                        Preferred Name:




                                Is the 2021 Covid-19 Vaccination Fxem tion Approved?
                                                          Yes
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            5) M y accommodation permits me t o continue all o f my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, monitor and

     report symptoms daily, submit to temperature checks upon entering my facility, and undergo

     COVID-19 testing twice per week. I comply with all of these requirements.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021
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                                           EMPLOYEE WITNESS # 6
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            6) M y accommodation permits me to continue all o f my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, self-monitor

     and report symptoms, and undergo weekly testing for COVID-19. I comply with all of these

     requirements.

            7)   1 am personally aware that 3 other individuals who work for Sutter Health and who

     interact with both on-site patients and on-site colleagues were also granted religious exemptions

     and accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021
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                                           E        EE       E
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                                     EMPLOYEE WITNESS # 8
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              7)      I   am personally aware that approximately 20 other employees who work at my

       hospital and who interact with both on-site patients and on-site colleagues were also granted

       religious exemptions and accommodations from the COVID-19 vaccination requirement.

              Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

       and correct.

              Dated: September 16, 2021
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                                          EMPLOYEE WITNESS #
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            5) M y accommodation permits me to continue all o f my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients in the ICU. I am required to follow the same COVID-19 safety protocols

     that all other Multicare employees follow and have been following since the start of the pandemic..

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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                                    EMPLOYEE WITNESS # 10
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           5) M y accommodation permits me to continue all o f my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients in the ICU. As part of my accommodation, I am required to use PPE and

    to wear a mask outside o f any enclosed, private office space. I comply with all o f these

    requirements.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021
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                                          EMPLOYEE WITNESS # 11
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                     5) M y accommodation permits me to continue all o f my previous duties and

              responsibilities, including working on-site and in ambulances, interacting with colleagues, and

              providing quality and safe care to my patients. As part of my accommodation, 1am required to use

              PPE and test weekly for COVID-19. I comply with all of these requirements.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

              and correct.

                     Dated: September 14, 2021
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                                        EMPLOYEE WITNESS # 12
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             6)   I   am personally aware that 2 other employees who work at my hospital and who

      interact with both on-site patients and on-site colleagues were also granted religious exemptions

      and accommodations from the COVID-19 vaccination requirement.

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

             Dated: September 16, 2021
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                                         EMPLOYEE WITNESS # 13
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                                           EMPLOYEE WITNESS # 14
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                                                       EMPLOYEE WITNESS # 15
                               DECLARATION OF

            I,                      , declare as follows:

             1) I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

            2) I am employed as a registered nurse in the Intensive Care Unit at Advocate Aurora

     Health/Memorial Hospital in Burlington, Wisconsin. Advocate Healthcare employs over 70,000

     healthcare workers in Wisconsin and Illinois.

             3) The State of Wisconsin does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

            4) On September 1, 2021, my employer granted me a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

     notice that I received:
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                                 'Your request br COVID Vaccine Rekpous Exemption
                                 has been reviewed by the Exemption Committee

                                 'our Exemption is:

                                   Approved. This approval grants you en exemption
                                 iron receiving the COvID-19 vaccine this year end
                                 !Or the duratIon of your employment wen AAH

                                  Appicra    f a r m   LOIN} swan* rthewman




                                 . With the approval, you need to complete the
                                 folcrwing raquiranairds•

                                     1. Must comply with current Advocate Aurora
                                            gi.iidanice on PPE use
                                     2. Must comply with current Advocate Aurora
                                            guidance on travel and testing requirements:
                                            and
                                     3. Nkiat complete me then-current SaleCheck, or
                                            deity COVID-19 syrnp1orn screening process
                                            prier to anteing an Advocate Aurora site.


            5) M y accommodation permits m e t o continue a l l o f m y previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, self-monitor

     and report symptoms daily using a company app, and follow company guidance on travel and

     testing requirements. I comply with all of these requirements.

            6) I am personally aware that 12 other employees at my location who interact with both

     on-site patients a n d o n -site colleagues w e r e also granted religious exemptions a n d

     accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021
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                                                          EMPLOYEE WITNESS # 16
                                  DECLARATION OF

            I,               , declare as follows:

            1)      I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

            2)      I am employed as a registered vascular ultrasound technician at Minneapolis Heart

     Institute in Minneapolis, Minnesota. Minneapolis Heart Institute is part of Allina Health, which

     employs 29,000 healthcare workers at 12 hospitals and 90 clinics in Minnesota and Wisconsin.

            3)      The State of Minnesota does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

            4)      On September 2, 2021, Allina Health granted me a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a true and accurate

     copy of the approval notice that I received:
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            5)      My accommodation permits me to continue all of my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, follow masking

     guidelines, and undergo regular testing for COVID-19. I comply with all of these requirements.

            6)      I am personally aware that at least 100 other employees within Allina Health, and

     very likely more, who interact with both on-site patients and on-site colleagues were also granted

     religious exemptions and accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021

                                                                                                     __
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                                                    EMPLOYEE WITNESS # 17
                               DECLARATION OF

            I,                          , declare as follows:

            1)      I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

            2)      I am employed as a registered nurse in the pediatric emergency room at University

     of Chicago Medical Center, in Chicago, Illinois.

            3)      The State of Illinois does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

            4)      On September 1, 2021, my employer granted me a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

     notice that I received:
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            5) M y accommodation permits me to continue all o f my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, which I and all

     of my colleagues do.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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                                            EMPLOYEE WITNESS # 18
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            6)      I   am personally aware that 15 other individuals at various Advocate Health facilities

     who interact with both on-site patients and on-site colleagues were also granted religious

     exemptions and accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021
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                                           EMPLOYEE WITNESS # 19
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                                      EMPLOYEE WITNESS # 20
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           5) M y accommodation permits me to continue all o f my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to ICU patients. As part of my accommodation, I am required to use PPE, self-monitor

    and report symptoms daily using a company app, and follow company guidance on travel and

     testing requirements. I comply with all of these requirements.

            6)   I   am personally aware that 1 other individual at my location who interacts with both

     on-site patients and on-site colleagues was also granted religious exemptions and accommodations

     from the COVID-19 vaccination requirement

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

             Dated: September 14, 2021
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                                           EMPLOYEE WITNESS # 21
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               5) M y accommodation permits me to continue all o f my previous duties and

        responsibilities, including working on-site, interacting with colleagues, and providing quality and

        safe care to my patients (inpatients, outpatients and ER patients). As part of my accommodation,

        I am required to use PPE as everyone else, follow masking guidelines, and undergo COVID-19

       testing twice per week. I comply with all of these requirements.

               6)   I   am personally aware that 5 other employees who work at my hospital and who

       interact with both on-site patients and on-site colleagues were also granted religious exemptions

       and accommodations from the COVID-19 vaccination requirement.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

       and correct.

               Dated: September 16, 2021
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                                         EMPLOYEE WITNESS # 22
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     report symptoms, and observe physical distancing when and as possible. I comply with all of these

     requirements.

            6)       I am personally aware that at least 3 other employees at my location who interact

     with both on-site patients and on-site colleagues were also granted religious exemptions and

     accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021

                                                                 _                              _____
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                                        EMPLOYEE WITNESS # 23
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            5)       My accommodation permits me to continue all of my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, monitor and

     report symptoms, and observe physical distancing when and as possible. I comply with all of these

     requirements.

            6)       I am personally aware that at least 5 other employees at my location who interact

     with both on-site patients and on-site colleagues were also granted religious exemptions and

     accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021

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                                          EMPLOYEE WITNESS # 24
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       safe care to my patients. As part of my accommodation, I am required to use PPE, observe physical

      distancing and self-monitor and report symptoms. I comply with all of these requirements.

              Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

             Dated: September 14, 2021
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                                        EMPLOYEE WITNESS # 25
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            6)      I   am personally aware that 4 other employees at my location who interact with both

     on-site patients a n d o n -site colleagues were also granted religious exemptions a n d

     accommodations from the COVID-19 vaccination requirement.

            PursuAnt to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021
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                                                      EMPLOYEE WITNESS # 26
                               DECLARATION OF

            I,                       , declare as follows:

            1)      I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

            2)      I am employed as a bedside registered nurse in the Neuro Step Down Intensive Care

     Unit at Henry Ford Health System in Detroit, Michigan. Henry Ford Health employs over 30,000

     healthcare workers at over 40 hospitals.

            3)      The State of Michigan does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

            4)      On August 23, 2021, my employer granted me a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

     notice that I received:
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            5)      My accommodation permits me to continue all of my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe bedside care to my patients. As part of my accommodation, I am required to use PPE and self-

     monitor and report symptoms. I comply with all of these requirements.

            6)      I am personally aware that 2 other employees at my location who interact with both

     on-site patients and on-site colleagues were also granted religious exemptions and

     accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021

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                                        EMPLOYEE WITNESS # 27
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                                                         EMPLOYEE WITNESS # 28
                                DECLARATION OF

            I,                  , declare as follows:

            1)      I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

            2)      I am employed as a registered nurse at the Ambulatory Surgical Center of Temple

     University, in Philadelphia, Pennsylvania. Temple University has a premier educational and

     research health system.

            3)      The State of Pennsylvania does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

            4)      On September 10, 2021, Temple University granted me a religious exemption and

     accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

     notice that I received:
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                                                      EMPLOYEE WITNESS # 29
                             DECLARATION OF

               I,                        , declare as follows:

               1)   I am over the age of 18, and competent to testify as follows, based upon my personal

     knowledge.

               2)   I am employed as a registered respiratory therapist at Holy Redeemer Hospital, in

     Meadowbrook, Pennsylvania. My hospital is part of the Redeemer Health System, which employs

     approximately 2,500 employees.

               3)   I also work on a per diem basis at St. Mary’s Medical Center, in Langhorne,

     Pennsylvania. This facility is part of Trinity Health.

               4)   The State of Pennsylvania does not prohibit healthcare employers from providing

     religious exemptions and accommodations to healthcare employees with sincerely held religious

     objections to mandatory vaccinations.

               5)   On August 12, 2021, Holy Redeemer Hospital granted me a religious exemption

     and accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the

     approval notice that I received:




               6)   I have also received an exemption and accommodation from St. Mary’s and Trinity

     Health.
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            7)      At both of my employers, my accommodation permits me to continue all of my

     previous duties and responsibilities, including working on-site, interacting with colleagues, and

     providing quality and safe care to my patients. As part of my accommodation at Holy Redeemer

     Hospital, I am required to use PPE and to undergo periodic testing for COVID-19. At St.

     Mary’s/Trinity, I am required to use PPE, monitor and report symptoms, and observe physical

     distancing when and as possible. I comply with all of these requirements.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021

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                                          EMPLOYEE WITNESS # 30
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                                          EMPLOYEE WITNESS # 31
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            5) M y accommodation permits me to continue all o f my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE and undergo

     COVID-19 testing once per week (starting in October). I comply with all of these requirements.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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                                         EMPLOYEE WITNESS # 32
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             5) M y accommodation permits me to continue all o f my previous duties and

      responsibilities, including working on-site, interacting with colleagues, and providing quality and

      safe care to my patients. As part of my accommodation, I am required to use PPE, monitor and

      report symptoms, and observe physical distancing when and as possible. I comply with all of these

      requirements.

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

             Dated: September 14, 2021
